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  1 LTL ATTORNEYS LLP
      James M. Lee (SBN 192301)
  2     james.lee@ltlattorneys.com
      David W. Ammons (SBN 187168)
  3     david.ammons@ltlattorneys.com
      Alex H. Hu (SBN 279585)
  4     alex.hu@ltlattorneys.com
      300 S. Grand Ave, 14th Floor
  5   Los Angeles, California 90071
      Tel.: 213-612-8900
  6   Fax: 213-612-3773
  7 Attorneys for Defendant
      THOMSON REUTERS (LEGAL) INC.
  8
  9                      UNITED STATES DISTRICT COURT
 10                   SOUTHERN DISTRICT OF CALIFORNIA
 11
    ANDRE F. TOCE, an individual, The        CASE NO.: 3:17−CV−603 AJB (BLM)
 12 TOCE FIRM, APLC, GILBERT H.
    DOZIER, an individual, and
 13 ANDERSON & DOZIER, LLP,                  [Assigned to the Hon. Anthony J.
                                             Battaglia]
 14              Plaintiffs,
            v.
 15                             DEFENDANT THOMSON
    CAMERON RENTCH, WISE LAW    REUTERS (LEGAL) INC.’S EX
 16 GROUP, LLC, KERRY           PARTE APPLICATION TO SEAL A
    STEIGERWALT, FORD &         PREVIOUSLY-FILED
 17 ASSOCIATES NATIONWIDE LEGAL DOCUMENT
    SERVICES, APC, and THOMSON
 18 REUTERS AMERICA
    CORPORATION,
 19
              Defendants.
 20   THOMSON REUTERS (LEGAL) INC.,
 21
 22                     Cross-Complainant,
 23
            v.
 24
 25   B. CAMERON RENTCH and WISE
      LAW GROUP, LLC,
 26
 27                     Cross-Defendants.
 28


                     THOMSON REUTERS (LEGAL) INC.’S EX PARTE APPLICATION
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  1        Pursuant to Civil Local Rule 79.2(c), Judge Battaglia’s Chambers Rule IV,
  2 and the Court’s inherent authority over its own files and records, Cross-Complainant
  3 Thomson Reuters (Legal) Inc. (“TR” or “Cross-Complainant”) applies to this Court
  4 for an order allowing it to seal the unredacted version of TR’s Exhibit A to its
  5 Cross-Complaint (ECF No. 15-1).
  6        The Application is made on the grounds that the Exhibit TR wishes to file
  7 under seal contains confidential business information that, if disclosed, could
  8 undermine TR’s negotiation with its partners. No party to this lawsuit opposes this
  9 application. Ammons Decl. ¶ 3.
 10        In support of this Application, TR submits the accompanying Memorandum
 11 of Points and Authorities, a Proposed Order, and a Declaration of David W.
 12 Ammons.
 13
 14 June 27, 2017                           LTL ATTORNEYS LLP
 15
 16                                  By: s/ David W. Ammons
 17                                       James M. Lee
                                          David W. Ammons
 18                                       Alex H. Hu
 19                                       Attorneys for Defendant/Cross-Complainant
                                          Thomson Reuters America Corporation
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                       THOMSON REUTERS (LEGAL) INC.’S EX PARTE APPLICATION
Case 3:17-cv-00603-AJB-BLM Document 21 Filed 06/27/17 PageID.201 Page 3 of 4




  1                           CERTIFICATE OF SERVICE
  2
    STATE OF CALIFORNIA)
  3 COUNTY OF LOS ANGELES)
  4       I am employed in the county of Los Angeles State of California. I am over
  5 the age of 18 and not a party to the within action; my business address is: 300 South
    Grand Ave., 14th Floor, Los Angeles, CA 90071.
  6
  7        On June 27, 2017, I served the foregoing document(s) described as
  8 DEFENDANT THOMSON REUTERS (LEGAL) INC.’S EX PARTE
    APPLICATION TO SEAL A PREVIOUSLY-FILED DOCUMENT on the
  9 interested parties in this action.
 10
      David H. Lawton, Esq.                   Attorneys for Plaintiffs ANDRE F.
 11   The Gallagher Law Group PC              TOCE, THE TOCE
 12   1875 Century Park East, Suite 1550      FIRM, APLC, GILBERT H. DOZIER,
      Los Angeles, CA 90067                   AND ANDERSON & DOZIER, LLP
 13   310-203-2600
 14   310-203-2610 (fax)
      dlawton@thegallagherlawgroup.com
 15   Jack Reynolds Leer                      Attorneys for Defendants Ford &
 16   Caldarelli Hejmanowski & Page LLP Associates Nationwide Legal Services,
      12340 El Camino Real, Suite 430         APC and Kerry Steigerwalt
 17   San Diego, CA 92130
 18   (858) 720-8080
      (858) 720-6680 (fax)
 19
      jrl@chpllaw.com
 20   Matthew Miguel Mahoney                  Attorneys for Defendant and Cross
      Witham Mahoney & Abbott, LLP            Defendant Cameron Rentch
 21
      401 B Street, Suite 2220
 22   San Diego,, CA 92101
      619-407-0505
 23
      619-872-0711 (fax)
 24   mahoney@wmalawfirm.com
 25 //
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 27 //
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                                     CERTIFICATE OF SERVICE
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    ^ [X] BY CM/ECF NOTICE OF ELECTRONIC FILING: I caused said
             document(s) to be served by means of this Court's electronic transmission of
    2        the Notice of Electronic filing through the Court's transmission facilities, to
    ^        the parties and/or counsel who are registered CM/ECF Users set forth in the
             service list obtained from this Court.
    4"
    ^ Executed on June 27, 2017, at Los Angeles, California.

    6 [X]    (Federal) I declare that I am employed in the office of a member of the bar of
    y        this court at whose direction the service was made.
    8
    g          Erik Jimenez Rodriguez
                      Print Name
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